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                                                                   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                       DOC#:
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 4/28/2020


 UNITED STATES OF AMERICA,
                                                                 No. 18-cr-694 (RA)
                         v.
                                                                       ORDER
 LEWIS STAHL,

                              Defendant.


RONNIE ABRAMS, United States District Judge:

         In light of the Bureau of Prisons’ decision to release Mr. Stahl from FCI Miami and transfer

him to home confinement on April 24, 2020, see Dkts. 65, 65-1, 67, the Court will not further

address his motion for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A), see Dkt. 46,

unless requested to do so. The Clerk of Court is respectfully directed to terminate the motion

pending at Dkt. 46.

SO ORDERED.

Dated:      April 28, 2020
            New York, New York


                                                   Ronnie Abrams
                                                   United States District Judge
